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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

WEATHERFORD U.S., L.P. and                       §
WEATHERFORD TECHNOLOGY                           §
HOLDINGS, LLC,                                   §
                                                 §           Civil Action No. 4:23-cv-3416
        Plaintiffs,                              §
                                                 §               Jury Trial Demanded
v.                                               §
                                                 §
IRON-IQ, INC.                                    §
                                                 §
        Defendant.                               §


                      RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and to enable Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Defendant Iron-IQ, Inc. certifies there is no corporate parent of Iron-IQ, Inc. and no

publicly-held corporation owns 10% or more of the stock of Iron-IQ, Inc.




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Dated: November 24, 2023.           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on this 24th day of November 2023.

                                                /s/ Ashley N. Moore    _
                                                Ashley N. Moore
                                                SDTX No. 3864837




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